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                                 #:6669




    EXHIBIT 33
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                          Case 2:14-cv-09764-RGK-PLA Document 229-38 Filed 03/02/20 Page 2 of 8 Page ID
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                               6 Attorneys for Intervenor, VITALY IVANOVICH SMAGIN
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                               8                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
                 in
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                               9                                      FOR THE COUNTY OF LOS ANGELES
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                 I            10
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                              11 In re the Marriage of                                           )       CASE NO. BD 595 136
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                 cc
                 LU           12 Petitioner:          NATALIA TSAGOLOVA                          )               ORDER ON EX PARTE
                 CO                                                                              )       REQUEST FOR ORDERS RE
                 tr           13                      and                                        )       RESTRAINING ORDERS, ACCESS TO
                 O                                                                               )       SEALED DOCUMENTS AND NOTICE
                 h-           14 Respondent: ASHOT EGIAZARYAN                                    )       TO PARTIES
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                 cc                                                                              )
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                              15                                                                 )       JUDGE:   Hon. Michael E. Whitaker
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                              16 VITALY IVANOVICH SMAGIN,                                        )       DATE:    February 9, 2016
         8_ 3g u«                                                                                )       TIME:    8:30 a.m.
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                 CQ       -   17                          Intervenor,                            )       DEPT :   43
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                              20            Intervenor, VITALY SMAGIN’s, Ex Parte Request for Orders For Intervention in Action,
                              21 Restraining Orders Against Parties, Access to Lodged Documents came on regularly for hearing on
 OLD                          22 Friday, February 9, 2016, at 8:30 a.m., in Department 43 of the above-entitled court, the Honorable
                              23 Michael E. Whitaker, Judge, Presiding. At said time and place Intervenor Vitaly Smagin was not
                              24 present but he was represented by Kolodny Law Group, by Stephen A. Kolodny, his attorney of record.
                              25 For the reasons set forth in Intervenor’s moving papers, no notice was given to the parties to prevent
                              26 the dissipation, concealment or transfer to a foreign jurisdiction of the funds which Intervenor sought
                              27 to make the subject of this ex parte order.
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                                   TSAGOLOVA v . EGIAZARYAN                                                                             CASE NO. BD 595 136
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                                   2016-02-04 PROPOSED ORDER ON EX PARTE RFO.wpd 2016 02 08 (20:00:19 ) DCS                                         PAGE 1
                                                                      ORDER ON EX PARTE REQUEST FOR ORDERS
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                    1            After considering the ex parte application of Intervenor Vitaly Smagin, the documents
                    2 submitted in connection therewith, and the law as provided by Intervenor’s counsel in connection with
                    3 this ex parte application,
                    4            THE COURT ORDERS AS FOLLOWS:
                    5            1.        Request to Intervene: Vitaly Ivanovich Smagin (“Intervenor”) is granted leave to
                    6 intervene in the dissolution action as a matter of right.
                    7            2.        Intervenor is granted leave to file a Complaint in Intervention in this matter based upon
                    8 Intervenor’s interest in the matter of this litigation and assertion of interests adverse to Petitioner and

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                    9 Respondent.
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                   10            3.        Restraining Order: Petitioner, Respondent and her/his agents and/or any person or
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                   11 entity acting under her/his direction or control are immediately restrained from transferring,
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      LU           12 encumbering, hypothecating, concealing, or in any way disposing of any property, real or personal,
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      a:           13 whether community, quasi-community, or separate, which asset exceeds $10,000 in value without
      to
      UJ           14 prior order of the Court permitting such a transfer. This order modifies the Automatic Temporary
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      a:
  gS 2             15 Restraining Orders (ATROs) set forth in the Petition for Dissolution filed January 22, 2014. This order
  2C pO            16 is based upon the following findings made by the Court based upon the evidence presented by
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  Z LU Q           17 Intervenor:
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                   18                       A.        The basis of the London Award resulted from Respondent’s past fraudulent and
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  <5t      -       19 deceptive acts to conceal and misappropriate assets from Intervenor through the use of entities in

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                   20 foreign jurisdictions, including Cyprus and the British Virgin Islands. (See Ex. “A.”) Moreover, after
                   21 a full hearing and hours of testimony from Respondent, the London High Court specifically
OLD                22 acknowledged and referenced Respondent’s past practice of concealing his beneficial ownership in
                   23 assets by the use of nominees and nominee companies. The London High Court also made several
                   24 findings demonstrating Respondent’s lack of trustworthiness, including its rejection of his argument
                   25 that the operative agreement was forged and that he was not the beneficial owner of certain assets.
                   26 (See Ex. “B” atffi[ 6, 7, 15, 35.)
                   27                       B.        Respondent has also been the subject of investigations and charges for numerous
                   28 other financial crimes in Russia. Respondent is currently an international fugitive on Interpol’s

                        TSAGOLOVA v. EGIAZARYAN                                                                 CASE NO. BD 595 136
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                     1 wanted list as a result of his arrest in absentia in Russia for financial crimes (see Ex. “BB”), including
                     2 the fraud and deceit he practiced against Intervenor that was the basis of the litigation resulting in the
                     3 London Award.
                     4                      C.        Respondent has acknowledged that he uses nominees and offshore companies
                     5 II to conceal his assets. He has explained in prior litigation that this is a typical way of doing business
                     6 in Russia and among Russian businessman. According to Respondent, “[i]n Russia, it is common to

                     71| own the share interest in business through nominees and several noncommercial companies.” (See Ex.
                     8 “C” at 12.3.) Respondent further explained that this is done to prevent corporate raiding by making
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                     91 it “more complicated for the potential raiders to define the owners of the assets within the different
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                    10 layers of the business and share interest.” (See Ex. “C” at 2.3.) The use of nominees and offshore
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                    11 companies to make it more difficult to identify Respondent’s assets is exactly what Intervenor is trying
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                    121| to prevent by intervening in this matter and seeking these restraining orders.
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          §         13                      D.         Additionally, the basis of Petitioner’s 2015 Bankruptcy rests upon Respondent’s
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                    141| willingness to hide and conceal assets from Petitioner in these family law proceedings. (See Ex. “N,”
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                    15 at If 2:12-21.)
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                    16                      E.         The U.S. District Court has found that restraining orders should be issued to
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                g   171| protect Intervenor based upon Respondent’s conduct.                         On December 23, 2014, the United States
        3 ?CVI:
     SU 5           18 District Court entered a restraining order freezing Respondent’s California assets and later expanded
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                    191| the restraining order to include orders freezing Respondent’s worldwide assets. (See Ex. “D” & “L.”)
ZD                  20             4.        Records: The Court finds that the parties’ July 8, 2014 Protective Order is improper
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                    211| and the Court sets aside the Order for the following reasons:
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                    22                       A.        Paragraph 8 of the Stipulation and Order violates California Rules of Court, rule

                    231 2.550(d), because the parties have agreed that the constitutionally mandated findings set forth in
                    24 California Rules of Court, rule 2.550(d) are made by agreement of the parties not by the Court based
                    25 on actual facts to support such an order. Pursuant to California Rules of Court, rule 2.551(b), said

                    261| findings are only to be made by the Court after a motion to seal has been made.
                    27                       B.        Paragraph 8(a) of the Stipulation and Order violates California Rules of Court,

                    281| rule 2.551(b)(3)(A), because it provides that “Confidential Information shall be submitted in such a
                         TSAGOLOVA v . EGLAZARYAN                                                                         CASE NO . BD 595 136
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                         2016 02 04 PROPOSED ORDER ONEX PARTE RFO. wpd 2016 02 08 ( 20:00:19 ) DCS                                    PAGE 3
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                   1 manner as the Court may direct to ensure the confidentiality of the Confidential Information,” instead
                   2 of following the constitutionally mandated procedures.
                   3                       C.        Paragraphs 8(a) and (b) violate California Rules of Court, rule 2.551(b), because
                   4 the parties agreed to shift the burden of proof to show that information is not confidential to the party
                   5 intending to divulge documents marked confidential by the other party, instead of leaving the burden
                   6 of proof to show sufficient facts to justify sealing on the party making the application to seal the
                   7 records as set forth in said rule.
                   8                       D.        Paragraph 17 violates California Rules of Court, rule 2.551 (b)(1), because the
        in         9 parties agree that the parties will make a “joint Motion to seal the file, to seal financial documents,
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        §         10 corporate or personal documents marked ‘CONFIDENTIAL’ and also for a closed courtroom,” instead
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                  11 of following the California Rules of Court which do not provide for “joint” motions to seal court
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        UJ        12 records or mandate a closed courtroom.
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                  13             5.        The Court finds that the parties’ July 14, 2015 Protective Order is improper and the
        CO        14 Court sets aside the Order for the following reasons:
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             m    15                       A.        Paragraph 8 is improper for the following reasons: (1) it places an impermissible
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                  16 condition on filing the documents with the Court, which may delay or prevent the public from
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   z m S?         17 accessing the records; (2) it impermissibly shifts the burden to the Court to protect the parties instead
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   £    «4        18 of the public’s constitutional right to access the records; and (3) the provision does not include the
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                  19 constitutionally mandated procedures set forth in California Rules of Court, rule 2.551(b)(3)(A).
>-Qr              20                       B.        Paragraph 15 is improper for the following reasons: (1) a motion to seal does
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Q                 21 not need to be “deemed necessary,” the law requires that such a motion must be filed if a party wants
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                  22 to file a document under seal; and (2) the constitutionally mandated procedures do not provide for
                  23 “joint” motions.
                  24                       C.        Paragraphs 7 and 9 are improper for the following reasons: (1) these provisions
                  25 impermissibly usurp the Court’s obligation to find facts to establish the findings set forth in the
                  26 California Rules of Court after a hearing on a noticed motion; (2) these provisions allow the parties
                  27 to exclude from the Court’s records documents that the parties’ have arbitrarily deemed to be
                  28 confidential thereby depriving the Court of an evidentiary basis for its findings and impermissibly
                       TSAGOLOVA v . EGIAZARYAN                                                                  CASE NO . BD 595 136
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                       2016 02 04 PROPOSED ORDER ON EX PARTE RFO. wpd 2016 02 08 ( 20:00:19) DCS                              PAGE 4
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                         1 depriving the public access to the records; and (3) these provisions do not provide with specificity the
                         2 page and exact documents that are to be excluded from the file.
                         3       6.        The Court finds that after the unredacted documents set forth below were lodged with the
                         4 Court, and neither Respondent nor Petitioner moved to have the records sealed pursuant to the
                         5 mandatory requirements of California Rules of Court, rule 2.551.
                         6        7.       Intervenor shall be immediately permitted access to and shall be allowed to review
                         7 unredacted documents that either or both parties have marked “CONFIDENTIAL” and/or have lodged
                         8 with the Court conditionally under seal, and said documents shall be placed in the public file pursuant

         8               9 to California Rules of Court, rule 2.551; said documents include, but are not limited to:
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                        10                  (1)       “Stipulation and Order Re: Protective Order and Order Thereon Regarding
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                        11 Confidential Settlement Deed Dated May 21, 2015” filed by Respondent on July 14, 2015;
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         UJ             12                  (2)       “Stipulation Re Advance Distribution of Funds, Continuance of Pending Hearings
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                        13 and Related Matters; and Orders Thereon” signed by the parties and counsel on July 6, 2015
         cn             14 (unredacted version lodged with Court; redacted version attached as Ex. “2" to Petitioner’s August 18,
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                        15 2015 ex parte application and is attached hereto as Ex. “X”);
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                        16                  (3 )      Documents regarding the account holding the funds to be disbursed (unredacted
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                        17 document lodged; referenced as Ex. “3” to Petitioner’s August 18, 2015 ex parte application filed);
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                        18                  (4)       A July 22, 2015 letter from Basel Jamra to Ron Anteau, including enclosures
     <5i       -        19 (unredacted version lodged with Court; redacted version attached as Ex. “4" to Petitioner’s August 18,
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-&
                        20 2015 ex parte and is attached hereto as Ex. “Y”);
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                        21                  (5)       A July 21, 2015 letter to Respondent from third party advising that no distribution
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                        22 will be made to Petitioner until the divorce is fully and completely resolved (a copy of said letter was
                        23 lodged as Exhibit “5" with the Court in connection with Petitioner’s August 18, 2015 ex parte);
                        24                  (6)       Joint instructions to the trustee regarding the release of documents (unredacted
                        25 version lodged with the Court; a redacted copy of said joint instructions was filed as Ex. “6” in
                        26 connection with Petitioner’s August 18, 2015 ex parte and is attached hereto as Ex. “Z”);
                        27 / / / / /
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                             TSAGOLOVA v . EGIAZARYAN                                                               CASE NO. BD 595 136
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                             2016 02 04 PROPOSED ORDER ON EX PARTE RFO. wpd 2016 02 08 (20:00:19 ) DCS                          PAGE 5
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                        1                  (7)       An August 13, 2015 letter from Ron Anteau to Grace Jamra detailing day-to-day
                        2 attempts to consult with third parties authorized by the Joint Instructions (unredacted version lodged
                        3 with the Court; referenced as Ex. “7” in connection with Petitioner’s August 18, 2015 ex parte); and
                        4                  (8)       A Notice of Lodging that includes evidence reflecting Respondent’s compliance
                        5 with the terms of the “Stipulation Re Advance Distribution of Funds, Continuance of Pending
                        6 Hearings and Related Matters; and Orders Thereon,” lodged with the Court by Respondent in
                        7 connection with Petitioner’s August 18, 2015 ex parte.
                        8        8.        Delay of Notice: The Court finds that Intervenor has established a sufficient prima facie
                        9 case that Respondent has engaged in a pattern of concealing and transferring assets to avoid his
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                       10 financial obligations. Therefore, notice of this ex parte application and notice of this order shall be
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         CO            11 delayed by 10 business days from the date of this order so that Intervenor may file an action and/or
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         a:            12 otherwise seek restraining orders in the jurisdiction where the funds are located. Intervenor shall give
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                       13 notice of these ex parte orders by February 23, 2016.
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                       15 DATED: February                   , 2016
   2=                                                                              MICHAEL E. WHITAKER, Judge
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                            TSAGOLOVA v. EGLAZARYAN                                                             CASE NO . BD 595 136
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                            s         SHERRI R , CARTER , Executive Officer
                            1      Wy Superior Court of California.Coyn@Q
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